      Case 1:20-cv-01344-HBK Document 32 Filed 07/24/23 Page 1 of 5

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 9                      IN THE UNITED STATES DISTRICT COURT
10                     FOR THE EASTERN DISTRICT OF CALIFORNIA
11                                    FRESNO DIVISION
12
13
     DEMARION TRAMMEL,                             1:20-cv-01344-HBK
14
                                      Plaintiff, STIPULATION FOR
15                                               VOLUNTARY DISMISSAL
                  v.                             UNDER FEDERAL RULE OF
16                                               CIVIL PROCEDURE 41
17   C. ARECHIGA, et al.,                          Judge:      The Honorable Helena M.
                                                               Barch-Kuchta
18                               Defendants.
                                                   Action Filed:   9/21/2020
19
20
21        Pro se Plaintiff, DEMARION TRAMMEL (Plaintiff), and Defendants, C.
22   ARCHIGA and M. VILLANUEVA (Defendants), through their counsel of
23   record, have agreed to voluntarily dismiss this case without prejudice.
24        On July 21, 2023, Plaintiff and counsel for Defendants appeared before the
25   Honorable Christopher D. Baker fo r a settlement conference, following which
26   each party stipulated, on the record, to voluntarily dismiss the matter without
27   prejudice.
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                                               1
                                          Stip. For Voluntary Dismissal (1 :20-cv-01344-HBK)
      Case 1:20-cv-01344-HBK Document 32 Filed 07/24/23 Page 2 of 5

 1         Accordingly, the parties respectfully move the Court under Federal Rule of
2    Civil Procedure 4 l(a)(2) to voluntarily dismiss this action without prejudice.
3          Each party will bears its own costs and fees.
4
5          THE PARTIES SO STIPULATE.
6
7
 8   Dated:     ·7   t·z I /? 3
                         {                      Painiz in pro se
9


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10
     Dated:    July 21, 2023
11
                                                Deputy Attorney General
12                                              Attorneys for Defendants
                                                C. Arechiga and M Villanueva
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14
     SA2022304631
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                                            Stip. For Voluntary Dismissal ( 1:20-cv-01344-HBK)
      Case 1:20-cv-01344-HBK Document 32 Filed 07/24/23 Page 3 of 5

 1                     IN THE UNITED STATES DISTRICT COURT
 2                    FOR THE EASTERN DISTRICT OF CALIFORNIA
 3                                  FRESNO DIVISION
 4
 5
     DEMARION TRAMMEL,                          1:20-cv-0 1344-HBK
 6
                                    Plaintiff, JPROPOSEDl ORDER
 7                                             DISMISSING CASE WITHOUT
                 v.                             PREJUDICE
 8
 9   C. ARECHIGA, et al.,
10                               Defendants.
11
12         On the parties filed a Joint Motion to Dismiss all claims against Defendants
13   C. Arechiga and M. Villanueva without prejudice. The Court GRANTS the
14   Motion and dismisses this action without prejudice.
15
16         IT IS SO ORDERED.
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19   Dated:
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                                Order Dismissing Case Without Prejudice (1 :20-cv-01344-HBK)
          Case 1:20-cv-01344-HBK Document 32 Filed 07/24/23 Page 4 of 5



                              CERTIFICATE OF SERVICE
Case Name:     Demarion Trammel (BD2043)                 No.    1:20-cv-01344-HBK
               v. S. Garza, et al.

I hereby certify that on July 24, 2023, I electronically filed the following documents with the
Clerk of the Court by using the CM/ECF system:
STIPULATION FOR VOLUNTARY DISMISSAL UNDER FEDERAL RULE OF CIVIL
PROCEDURE 41; [PROPOSED] ORDER DISMISSING CASE WITHOUT PREJUDICE
Participants in the case who are registered CM/ECF users will be served by the CM/ECF system.
I declare under penalty of perjury under the laws of the State of California and the United States
of America the foregoing is true and correct and that this declaration was executed on July 24,
2023, at Sacramento, California.


            N. Quinonez                                        /s/ Natalie Quinonez
         Declarant for eFiling                                       Signature

I am employed in the Office of the Attorney General, which is the office of a member of the
California State Bar at which member's direction this service is made. I am 18 years of age or
older and not a party to this matter. I am familiar with the business practice at the Office of the
Attorney General for collection and processing of correspondence for mailing with the United
States Postal Service. In accordance with that practice, correspondence placed in the internal
mail collection system at the Office of the Attorney General is deposited with the United States
Postal Service with postage thereon fully prepaid that same day in the ordinary course of
business.
I further certify that some of the participants in the case are not registered CM/ECF users. On
July 24, 2023, the foregoing document(s) have been mailed in the Office of the Attorney
General's internal mail system, by First-Class Mail, postage prepaid, or have dispatched it to a
third party commercial carrier for delivery within three (3) calendar days to the following non-
CM/ECF participants:

Demarion Trammel
BD-2043
CALIFORNIA MEDICAL FACILITY (2000)
PO BOX 2000
Vacaville, CA 95696-2000
           Case 1:20-cv-01344-HBK Document 32 Filed 07/24/23 Page 5 of 5


I declare under penalty of perjury under the laws of the State of California and the United States
of America the foregoing is true and correct and that this declaration was executed on July 24,
2023, at Sacramento, California.

                 T. Yeh                                          /s/Tamara Yeh
   Declarant for Service by U.S. Mail                               Signature

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